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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ANTHONY HAMMOND MURPHY,                        )
                                                )
                  Plaintiff,                    )       CIVIL ACTION NO.:
 vs.                                            )       1:22-CV-322
                                                )
 NURTURE LIFE, INC.,                            )
                                                )
                  Defendant                     )

                                    NOTICE OF SETTLEMENT

           Plaintiff Anthony Hammond Murphy, by and through undersigned counsel, hereby

 provides notice to the Court that the present cause has been settled between the parties, and states:

           1. A settlement in principle has been reached between Plaintiff and Defendant and a

 settlement agreement (“Agreement”) is in the process of being finalized. Once the Agreement is

 fully executed, and certain conditions have been fulfilled pursuant to the Agreement, Plaintiff will

 file a Notice of Dismissal with prejudice, and without costs, pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(ii), by April 3, 2023, and will therein request that the case be dismissed and

 closed.

           2. The parties respectfully request that the Court stay this case and adjourn all deadlines

 and conferences.

Respectfully submitted,
March 3, 2023
By: LAWRENCE H. FISHER
/s/ Lawrence H. Fisher
Lawrence H. Fisher
Attorney for Plaintiff
